

People v Diallo (2024 NY Slip Op 05494)





People v Diallo


2024 NY Slip Op 05494


Decided on November 07, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 07, 2024

Before: Moulton, J.P., Friedman, Mendez, Shulman, Rodriguez, JJ. 


Ind No. 2912/17 Appeal No. 2970 Case No. 2019-04777 

[*1]The People of the State of New York, Respondent,
vHamidou Diallo, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Rebecca J. Gannon of counsel), for appellant.



Judgment, Supreme Court, New York County (Michael J. Obus, J. at plea; Erika M. Edwards, J. at sentencing), rendered June 27, 2019, convicting defendant, upon his plea of guilty, of attempted robbery in the second degree, and sentencing him to a term of two years, to be followed by two years of postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People consent to this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 7, 2024








